                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                                   5:11-cv-00153-RLV
                              (5:09-cr-00025-RLV-DCK-5)

ANDERSON CONTRERAS,                           )
                                              )
               Petitioner,                    )
                                              )
         v.                                   )
                                              )                      ORDER
UNITED STATES OF AMERICA,                     )
                                              )
               Respondent.                    )
                                              )

       THIS MATTER is before the Court on consideration of Respondent’s motion to dismiss

Petitioner’s pro se motion to vacate, set aside or correct sentence which he filed pursuant to 28

U.S.C. § 2255. For the reasons that follow, Respondent’s motion to dismiss will be granted.

                                      I.   BACKGROUND

       Petitioner and others were charged by the grand jury in this district in a second

superseding bill of indictment with one count of conspiring to possess with intent to distribute at

least 5 kilograms of cocaine, and at least 50 grams of cocaine base, or crack cocaine, and also at

least 1000 kilograms of marijuana, all in violation of 21 U.S.C. §§ 841(a)(1) and 846 (Count

One). (5:09-cr-00025, Doc. No. 64: Second Superseding Indictment).

       Petitioner was appointed counsel and soon entered into a written plea agreement with the

Government wherein he agreed to plead guilty to conspiracy to possess and distribute cocaine

and he admitted that the amount of cocaine that was involved in the conspiracy and reasonably

foreseeable to him was in excess of five (5) kilograms but less than fifteen (15) kilograms. (Id.,

Doc. No. 124: Plea Agreement). In the plea agreement, Petitioner also specifically chose to


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waive his right to contest his conviction or sentence on direct appeal or collaterally, except on

claims of prosecutorial misconduct and/or ineffective assistance of counsel. Petitioner appeared

with counsel before U.S. Magistrate Judge David S. Cayer for his Plea and Rule 11 hearing and

he was placed under oath. The relevant terms of the plea agreement were reviewed with

Petitioner and he admitted that he understood and agreed with the terms of his plea agreement,

including his decision to waive his right to directly appeal or collaterally attack his conviction or

sentence except for the two exceptions noted above. Petitioner’s plea of guilty was accepted after

the court found that it was knowingly and voluntarily entered. (Id., Doc. No. 125: Acceptance

and Entry of Guilty Plea).

       The U.S. Probation Office prepared a presentence investigation report (PSR) in advance

of Petitioner’s sentencing hearing. The probation officer calculated a total offense level of 29 and

a criminal history category III, yielding a Guidelines range of 108 to 135-months’ imprisonment,

however because the statutory minimum term was 120-months, the Guidelines range increased to

120 to 135 months in prison. See U.S. Sentencing Guidelines Manual (USSG) § 5G1.1(c)(2)

(2010). (Id., Doc. 166: PSR ¶ 101). After reviewing the PSR with his attorney, Petitioner

appeared with counsel for his sentencing hearing and he was sentenced to a term of 120-months’

imprisonment and he did not appeal. (Id., Doc. No. 173: Judgment in a Criminal Case). This §

2255 proceeding follows and Petitioner’s claims will be discussed below.

                               II.     STANDARD OF REVIEW

       Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to examine motions to vacate, along with “any attached exhibits and the

record of prior proceedings” in order to determine whether a petitioner is entitled to any relief.



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The Court has considered the record in this matter and applicable authority and concludes that

this matter can be resolved without an evidentiary hearing. See Raines v. United States, 423 F.2d

526, 529 (4th Cir. 1970).

                                              III.     DISCUSSION

         Petitioner raises two claims for relief in his § 2255 motion. First, Petitioner argues that

that this Court violated his Fifth and Sixth Amendment rights by erroneously ruling that

Petitioner did not qualify for a safety valve reduction under 18 U.S.C. § 3553(f) and USSG §

5C1.2. Secondly, Petitioner argues that he received ineffective assistance of counsel because his

attorney failed to object to the use of two criminal history points that were assessed based on the

probation officer’s finding that Petitioner was on state probation at the time he committed the

offense that was charged in Count One of his federal indictment. (5:11-cv-153, Doc. No. 1:

Section 2255 motion).

         A.       First Claim (Safety Valve)

         The Respondent argues that Petitioner waived his right to present his first claim based on

the express terms of his plea agreement. Specifically, Respondent argues that Petitioner’s

challenge to this Court’s decision on whether to grant a safety valve reduction is expressly

prohibited by Petitioner’s agreement to waive his right to contest his sentence, except on claims

of prosecutorial misconduct and/or ineffective assistance of counsel. (Id., Doc. No. 7:

Government’s Response at 4).1


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  In order to qualify for a safety valve reduction below a mandatory minimum under 18 U.S.C. § 3553(f), a
defendant must establish five things: (1) that he has no more than one criminal history point; (2) the defendant did
not commit violence or threatening action or possess a firearm during the charged offense; (3) the offense did not
result in the death or serious injury to any person; (4) the defendant did not qualify as an organizer, leader, manager
or supervisor, as provided for in the Guidelines, during the commission of the charged offense; and (5) no later than
the time of sentencing, the defendant has provided the government with all the truthful information known to him

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         A defendant may waive his right to contest his sentence in a collateral proceeding if the

decision to waive his rights is knowingly and voluntarily made. See United States Lemaster, 403

F.3d 216, 220 (4th Cir. 2005) (“[A] criminal defendant may waive his right to attack his

conviction and sentence collaterally, so long as the waiver is knowing and voluntary.”).

         In his memorandum in support of his § 2255 motion, Petitioner plainly states that he

“does not challenge the [validity] of his appeal waiver, rather it’s [sic] scope.” (Id., Doc. No. 1-1

at 4). Importantly, Petitioner concedes that he validly waived his right to contest his sentence, but

he nevertheless disagrees that the challenge to the application of the safety valve is encompassed

within this waiver. This argument is without merit.

         Petitioner appeared for his Plea and Rule 11 hearing and he was placed under oath and

the critical provisions of his plea agreement were explained to him, in particular, the waiver of

his right to collaterally attack his sentence except on grounds of prosecutorial misconduct and/or

ineffective assistance of counsel. Petitioner averred that he agreed with each of the terms of his

plea agreement and his plea was accepted after the court concluded that it was knowingly and

voluntarily entered. At the outset of Petitioner’s sentencing hearing, this Court confirmed that

Petitioner’s guilty plea was knowingly and voluntarily entered and his plea of guilty was

accepted. “The advantages of plea bargains ‘can be secured, however, only if dispositions by

guilty plea are accorded a great measure of finality.’” Lemaster, 403 F.3d at 219-20 (quoting

Blackledge v. Allison, 431 U.S. 63, 71 (1977)).

         The Court finds that first, under the facts presented in this case, Petitioner’s challenge to

the application of the safety valve falls squarely within the waiver provision of the plea



regarding the offense of conviction.

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agreement, and second, that Petitioner, after having knowingly waived his right challenge his

sentence in a collateral proceeding, is barred from pursuing his claim regarding trial court error

in declining an application for a safety valve reduction.

       B.       Second Claim (Ineffective Assistance of Counsel)

       In order to prevail on a claim of ineffective assistance of counsel, a petitioner must show

that: (1) “counsel’s representation fell below an objective standard of reasonableness,” and (2)

“the deficient performance prejudiced the defense.” Strickland v. Washington, 466 U.S. 668,

687-88 (1984). In measuring counsel’s performance, there is “a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance.” Id. at 689.

A petitioner seeking post-conviction relief bears a “heavy burden” to overcome this presumption.

Carpenter v. United States, 720 F.2d 546, 548 (8th Cir. 1983). Conclusory allegations do not

overcome the presumption of competency. Id.

       To demonstrate prejudice in the context of a guilty plea, Petitioner must still satisfy the

standard set forth in Strickland. In regard to the second prong, Petitioner must demonstrate that

he was prejudiced by ineffective assistance of counsel by showing “a reasonable probability that,

but for counsel’s errors, [she] would not have pleaded guilty and would have insisted on going to

trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985).

       Under these circumstances, Petitioner “bears the burden of proving Strickland prejudice.”

Fields v. Attorney Gen. of Md., 956 F.2d 1290, 1297 (4th Cir. 1992) (citing Hutchins v.

Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983), cert. denied, 464 U.S. 1065 (1984)). If

Petitioner fails to meet this burden, “a reviewing court need not consider the performance

prong.” Fields, 956 F.2d at 1297 (citing Strickland, 466 U.S. at 697). In considering the prejudice



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prong of the analysis, the Court must not grant relief solely because Petitioner can show that, but

for counsel’s performance, the outcome of the proceeding would have been different. See Sexton

v. French, 163 F.3d 874, 882 (4th Cir. 1998). Rather, the Court “can only grant relief under the

second prong of Strickland if the ‘result of the proceeding was fundamentally unfair or

unreliable.’” Id. (quoting Lockhart v. Fretwell, 506 U.S. 364, 369 (1993)).

         Here, Petitioner contends that his trial counsel erred in failing to object to the addition of

two criminal history points which were added because the probation concluded that Petitioner

was on probation at the time he committed the offenses charged in Count One of his federal

indictment. (Id., Doc. No. 1-1 at 2). In the second superseding indictment, the grand jury charged

Petitioner with participating in a conspiracy to possess with intent to distribute, among other

drugs, cocaine, with such conspiracy beginning “in or about 2006 through the present . . .” and

this timeframe would encompass December 15, 2009, which is the day the second superseding

indictment was filed. (5:09-cr-00025, Doc. No. 64).

        According to his PSR, Petitioner was convicted on July 11, 2006, on four felony offenses

in Catawba County Superior Court for possession of stolen goods and one felony count of

possession of a stolen vehicle. The convictions were consolidated for sentencing and Petitioner

was given an 8-10 month suspended term of imprisonment and placed on 36 months of

supervised probation and 6 months of intensive probation.2 On April 17, 2008, Petitioner

admitted in state court that he had violated terms of his probation and his probationary sentence

was modified to reflect a reduction in his monetary payments, and 75 hours of community

service was ordered. (Id., Doc. No. 166: PSR ¶¶ 30-31). Petitioner’s state probation was later


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  The PSR also noted that Petitioner was convicted on February 28, 2008, on one count of driving while license
revoked and he was placed on 18-months of probation.

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placed into “Non-Reporting Status” for the express reason that he had been detained “due to the

instant offense,” that is, due to the conduct charged in his federal indictment.

       Based on the foregoing, it is clear that Petitioner was on state probation at the time he

committed the federal drug conspiracy offense – a conspiracy ranging from 2006 until December

15, 2009, and during this time span Petitioner committed six offenses for which he was placed on

state probation. Accordingly, his counsel was not ineffective in declining to argue that he was

not on probation at the time he committed the federal drug conspiracy offense and his claim for

ineffective assistance of counsel on this claim will be denied.

       Finally, Petitioner’s renewed argument that he could have qualified for the safety valve

reduction must be rejected. At sentencing the Court found that the points used to establish

Petitioner’s criminal history category were correct and furthermore, Petitioner’s counsel

specifically noted that that the Government did not feel that Petitioner had provided the

necessary cooperation or information to qualify for a safety valve reduction thus even if his

criminal history points were incorrect, he failed to satisfy the fifth element to qualify for a safety

valve reduction. See (5:09-cr-00025, Doc. No. 278: Sentencing Tr. at 5).

                                      IV.     CONCLUSION

       For the reasons stated herein, the Court finds that the claims raised in Petitioner’s Section

2255 motion are without merit and accordingly, he is entitled to no relief in this collateral

proceeding.

       IT IS, THEREFORE, ORDERED that Respondent’s motion to dismiss is GRANTED.

(Doc. No. 8).

       IT IS FURTHER ORDERED that Petitioner’s § 2255 Motion is DENIED and



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DISMISSED. (Doc. 1).

       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, this Court declines to issues a certificate of appealability as Petitioner has

not made a substantial showing of a denial of a constitutional right. See 28 U.S.C. § 2253(c)(2);

Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner

must demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong).

       IT IS SO ORDERED.

 Signed: December 18, 2014




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